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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


UNITED STATES OF AMERICA
                                                   No. 19 Cr. 850 (JSR)
       - against -
                                                   NOTICE OF MOTION
PARKER H. PETIT and
WILLIAM TAYLOR                                     ORAL ARGUMENT REQUESTED

       Defendants.


       PLEASE TAKE NOTICE that upon the accompanying memorandum of law and the

Declaration of Daniel Koffmann, dated October 9, 2020, Defendants Parker H. Petit and William

Taylor will move this Court on a date and time to be designated by the Court, before the

Honorable Jed S. Rakoff, United States District Judge for the Southern District of New York, at

the Daniel Patrick Moynihan United States Courthouse, 500 Pearl Street, New York, New York,

for an Order granting Mr. Petit’s and Mr. Taylor’s motion for an adjournment.




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       PLEASE TAKE FURTHER NOTICE, that pursuant to prior Order of the Court,

answering papers, if any, shall be served on or before October 15, 2020, and reply papers, if any,

shall be served on or before October 19, 2020.


Dated: October 9, 2020

FRESHFIELDS BRUCKHAUS                                QUINN EMANUEL URQUHART
DERINGER US LLP                                      & SULLIVAN, LLP

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